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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
--------------------------------------------------------- X
                                                          :
UNITED STATES OF AMERICA,
                                                          :
                  -against-                                 Crim. No. 2:19-cr-877-CCC
                                                          :
MATTHEW BRENT GOETTSCHE,
RUSS MEDLIN,                                              :
JOBADIAH SINCLAIR WEEKS,
JOSEPH FRANK ABEL, and                                    :
SILVIU CATALIN BALACI
                                                          :
                           Defendants.
--------------------------------------------------------- X
         [Proposed] Order Granting Motion to Modify Conditions of Pretrial Release

         THIS MATTER having come before the Court on the motion of Defendant Matthew

Brent Goettsche, through the undersigned counsel, to modify conditions of pretrial release (Dkt.

___), the Court having considered the consent of Pretrial Services and no objection from the

government, through Assistant U.S. Attorney Jamie Solano, and having read and considered this

motion, hereby approves David McNamara as a fourth third-party custodian of Mr. Goettsche.

         It is further ordered that the above conditions of release are in addition to, and not in place

of, the conditions previously set forth by this Court.



SO ORDERED.

Dated:

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Hon. Michael A. Hammer
United States Magistrate Judge
